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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

Adam Snitkoff, 3:25-cv-00736
Plaintiff Case No.

VS.

Yale New Haven Health Services Corp., May 27, 2025
Defendant Date

MOTION TO APPEAR PRO HAC VICE

In accordance with the D. Conn. L. Civ. R. 83.1(e), I Anja Rusi

an active member of the Bar of the U.S. District Court for the District of Connecticut,

Linda P. Nussbaum

respectfully request that the Court admit pro hac vice to the

Bar of this Court for the purpose of appearing on behalf of [mi] plaintiff(s) [__]defendant(s)

Adam Snitkoft in the action above. As the sponsoring attorney, I am a

member of the bar of this Court and have an appearance in this case. The filing fee has been

paid and I maintain the address listed below.

By Sponsoring Attorney Anja Rusi

(print name)
Address 156 South Main Street, P.O. Box 192, Colchester, CT 06415

Phone Number _(860) 537-5537 Email arusi@scott-scott.com

Federal Bar Number CT 30686

Signature GG

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AFFIDAVIT OF VISTING ATTORNEY

j, Linda P. Nussbaum , make this affidavit in support of

a motion to appear pro hac vice pursuant to Local Rule 83.1(e):

a) My office information is:

vant Nussbaum Law Group, P.C.
1133 Avenue of the Americas, 31st Floor
Address New York, NY 10036
FEone (917) 438-0189
Number
Fax
Email Inussbaum@nussbaumpc.com

b) Iamamember of the bar of the following court(s), and I include the corresponding bar
identification number(s):

Court Bar Number
(or indicate if no bar # issued)

State of New York 1594753

Southern District of New York LN-9336

Eastern District of New York none

Court of Appeals for First Circuit 1147568

Court of Appeals for Second Circuit 07-187214

Court of Appeals for Third Circuit none

c) Ihave no pending disciplinary complaints as to which a finding has been made that such
complaint should proceed to a hearing;

d) Ihave not been denied admission to, been disciplined by, resigned from, surrendered a
license to practice before, or withdrawn an application for admission to practice while
facing a disciplinary complaint before, this Court or any other court;

or, if I cannot so state as to subsections (c) and (d), then I attach a description in full of
the circumstances of any such complaint, denial, discipline, resignation, surrender, or

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e)

8)

h)

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withdrawal, including the reasons therefor, any penalty, sanction or other discipline
imposed, whether such discipline was satisfied, and whether I am currently in good
standing in such jurisdiction(s);

I have fully reviewed and am familiar with the Federal Rules of Civil Procedure (for an
attorney seeking admission in a civil case) or Criminal Procedure (for an attorney seeking
admission in a criminal case), the applicable Local Rules of the United States District
Court for the District of Connecticut, and the Connecticut Rules of Professional Conduct;

I designate the sponsoring attorney as my agent for service of process and the District of
Connecticut as the forum for the resolution of any dispute arising out of my admission
under this Local Rule 83.1(e), including matters involving grievances filed against the
visiting attorney and matters of attorney discipline that relate thereto;

I understand that upon admission under this rule | must promptly file with the Clerk of
Court a certificate of good standing from the court of the state in which I have my
primary office. I acknowledge that the certificate shall be filed no later than 60 days after
the date of admission and shall be dated no more than 60 days before the date of
admission. I understand that failure to file such certificate will result in the automatic
revocation of my visiting attorney status, absent an order of the Court. Furthermore, I
understand that upon revocation of my visiting attorney status in one case, the Clerk of
the Court shall examine the Court’s Docket and revoke my visiting attorney status in all
cases in which I have filed an appearance.

Certificate of good standing:
[a] has been included with this filing.
[_] will be filed within 60 days after admission.

I will file my appearance with the Court after my admission has been approved.

I hereby certify that the information provided on this form is true, correct, and complete as of
this 27th day of _ May , 20.25.

Signed 4hil——

Print Name Linda P. Nussbaum

Re. 3/26/25

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